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FoR THE WEs‘}\rEE§Tr\lEtF:iSB|Q\I/c;g; TENNEssEE 05 JUH _2 PH w 19
RGBEF`\? :"t . HQO
uNlTEo sTATEs oF AMERch, §§P<§i"%§ Ei;i;r§i§
P|aintiff,
\/s.
cR. No. 03-20327-B
ToNY sEA,
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERlOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on |Viay 31, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to July 5, 2005 With a gm
date of Thursdav, June 23, 2005, at 2:00 D.m., in Courtroom 1. 11th F|oor of the
Federa| Building, l\f|emphis, TN.

The period from June 17, 2005 through Ju|y 15, 2005 is excludable under 18

U. S C. § 3161 (h)(B)(B )(iv)becausethe ends otjustice served in allowingfor additional time
to prepare outweigh the need for a edy tria|.
|T lS SO ORDERED this §§

da: J:ne, 2005.

UIEL BREEN
UD STATES D|STR T JUDGE

'“‘s document entered on the dmi /+@ ~1 5
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UNITED sTATE DISTRIC COUR - WESTERN D's'TRCT 0 TESSEE

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This notice confirms a copy of the document docketed as number 78 in
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Honorable J. Brccn
US DISTRICT COURT

